          Case 1:17-cv-02069-TSC Document 56 Filed 02/02/18 Page 1 of 2



                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                       )
JOHN DOE,                              )
                                       )
                                       )
               Petitioner,             ) Civil Action No. 1:17-cv-2069 (TSC)
                                       )
      v.                               )
                                       )
GEN. JAMES N. MATTIS,                  )
 in his official capacity as SECRETARY )
 OF DEFENSE,                           )
                                       )
               Respondent.             )


                                     NOTICE OF APPEAL

       NOTICE is hereby given that Respondent General James N. Mattis, Secretary, United

States Department of Defense, hereby appeals to the United States Court of Appeals for the District

of Columbia Circuit from the Court’s Order filed and entered January 23, 2018 (Dkt. 52), which

requires the Respondent to provide the Court and Petitioner’s counsel seventy-two hours’ notice

prior to transferring Petitioner, providing Petitioner an opportunity to file an emergency motion

contesting his transfer.

February 2, 2018                                     Respectfully submitted,

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                                                     Acting Assistant Attorney General

                                                     JESSIE K. LIU
                                                     United States Attorney

                                                     TERRY M. HENRY
                                                     Assistant Director, Federal Programs Branch

                                                     /s/ Kathryn L. Wyer
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Case 1:17-cv-02069-TSC Document 56 Filed 02/02/18 Page 2 of 2



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